(Official Form 1)(12/03)
  FORM B1                                  UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF TEXAS                                                                               Voluntary Petition
                                                    WACO DIVISION
 Name of Debtor (if individual, enter Last, First Middle):                                       Name of Joint Debtor (Spouse) (if individual, enter Last, First Middle):
 Dunner, Anquenetta Shontrell

 All Other Names used by the Debtor in the last 6 years                                          All Other Names used by the Joint Debtor in the last 6 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):




 Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No (if more than             Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No (if more than
 one, state all):                                                                                one, state all):
 xxx-xx-6528
 Street Address of Debtor (No. and Street, City, State and Zip Code):                            Street Address of Joint Debtor (No. and Street, City, State and Zip Code):
 4303 Dugger St.
 Waco, TX 76705


 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
 McLennan
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):




 Location of Principal Assets of Business Debtor (if different from street address above):




                                            Information Regarding the Debtor (Check the Applicable Boxes)
 Venue       (Check any applicable box)
 þ     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
       preceding the date of this petition or for a longer part of such 180 days than in any other District.
 ¨     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                    Type of Debtor (Check all boxes that apply)                                        Chapter or Section of Bankruptcy Code Under Which
                                                                                                                the Petition is Filed (Check one box)
 þ     Individual(s)                                    ¨     Railroad
 ¨     Corporation                                      ¨     Stockbroker                        ¨     Chapter 7            ¨ Chapter 11                þ Chapter 13
 ¨     Partnership                                      ¨     Commodity Broker                   ¨     Chapter 9            ¨ Chapter 12
 ¨     Other__________________________                  ¨     Clearing Bank                      ¨     Section 304 - Case ancillary to foreign proceeding

                       Nature of Debts (Check one box)                                                                     Filing Fee (Check one box)
 þ     Consumer/Non-Business                            ¨     Business                           þ     Full Filing Fee attached
         Chapter 11 Small Business (Check all boxes that apply)                                  ¨     Filing Fee to be paid in installments (Applicable to individuals only)
 ¨     Debtor is a small business as defined by 11 U.S.C. Sec. 101.                                    Must attach signed application for the court's consideration
 ¨     Debtor is & elects to be considered a small business under                                      certifying that the debtor is unable to pay fee except in installments.
       11 U.S.C. § 1121(e) (Optional)                                                                  Rule 1006(b). See Official Form 3.
 Statistical/Administrative Information                   (Estimates only)                                                                THIS SPACE IS FOR COURT USE ONLY

 þ     Debtor estimates that funds will be available for distribution to unsecured creditors.
 ¨     Debtor estimates that, after any exempt property is excluded and administrative expenses are paid,
       there will be no funds available for distribution to unsecured creditors.
                                                   1-15           16-49       50-99          100-199     200-999       1000-Over
 Estimated Number of Creditors
                                                    ¨             þ            ¨               ¨            ¨              ¨
 Estimated Assets
   $0 to          $50,001 to       $100,001 to      $500,001 to      1,000,001 to   $10,000,001 to $50,000,001 to More than
  $50,000          $100,000         $500,000         $1 million       $10 million     $50 million   $100 million  $100 million
    ¨                 ¨                þ                  ¨               ¨              ¨                 ¨                ¨
 Estimated Debts
   $0 to          $50,001 to       $100,001 to      $500,001 to      1,000,001 to   $10,000,001 to $50,000,001 to More than
  $50,000          $100,000         $500,000         $1 million       $10 million     $50 million   $100 million  $100 million
    þ                 ¨                ¨                  ¨               ¨              ¨                 ¨                ¨
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(Official Form 1)(12/03)                                                                                                                                            FORM B1, Page 2
 Voluntary Petition (page 2)                                                                 Name of Debtor(s):    Anquenetta Shontrell Dunner
 (This page must be completed and filed in every case)
                             Prior Bankruptcy Case(s) Filed Within Last 6 Years (If more than two, attach additional sheet)
 Location Where Filed:                                                                       Case Number:                                   Date Filed:
 Western District-Waco Division                                                              03-60274                                        2/5/2003
 Location Where Filed:                                                                       Case Number:                                   Date Filed:
 Western Distric-Waco Division                                                               04-60969                                        4/29/2004
         Pending Bankruptcy Case(s) Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                             Case Number:                                   Date Filed:
 None
 District:                                                                                   Relationship:                                  Judge:


                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                                           Exhibit A
 I declare under penalty of perjury that the information provided in this petition is        (To be completed if debtor is required to file periodic reports (e.g., forms 10K and
 true and correct.                                                                           10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
 [If petitioner is an individual whose debts are primarily consumer debts and has            of the Securities Exchange Act of 1934 and is requesting relief under chapter 11)
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under           ¨     Exhibit A is attached and made a part of this petition.
 each such chapter, and choose to proceed under chapter 7.
                                                                                                                                    Exhibit B
 I request relief in accordance with the chapter of title 11, United States Code,
                                                                                             (To be completed if debtor is an individual whose debts are primarily consumer
 specified in this petition.
                                                                                             debts) I, the attorney for the petitioner named in the foregoing petition, declare
                                                                                             that I have informed the petitioner named in the foregoing petition that [he or she]

 X       /s/ Anquenetta Shontrell Dunner
                                                                                             may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and
                                                                                             have explained the relief available under each such chapter.
        Anquenetta Shontrell Dunner

 X                                                                                           X     /s/ Glynn Beaty                                                    11/15/2004
                                                                                                  Glynn Beaty                                                            Date
                                                                                                                                    Exhibit C
      Telephone Number (If not represented by an attorney)
                                                                                             Does the debtor own or have possession of any property that poses or is alleged to
      11/15/2004                                                                             pose a threat of imminent and identifiable harm to public health or safety?
      Date
                              Signature of Attorney                                            ¨     Yes, and Exhibit C is attached and made a part of this petition.
                                                                                               þ     No
 X       /s/ Glynn Beaty                                                                                     Signature of Non-Attorney Petition Preparer
        Glynn Beaty                                    Bar No. 24026787                       I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110,
                                                                                              that I prepared this document for compensation, and that I have provided the
                                                                                              debtor with a copy of this document.
 James C. Herring & Associates
 6801 Sanger Avenue, Ste. 190
 Waco, TX 76710
                                                                                                 Printed Name of Bankruptcy Petition Preparer

          (254) 399-9977
 Phone No.______________________        (254) 399-9909
                                 Fax No.______________________
                                                                                                 Social Security Number
      11/15/2004
      Date
              Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of            Address
 the debtor.
                                                                                              Names and Social Security numbers of all other individuals who prepared or
                                                                                              assisted in preparing this document:
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.

                                                                                              If more than one person prepared this document, attach additional sheets
                                                                                              conforming to the appropriate official form for each person.

 X
                                                                                             X
                                                                                                 Signature of Bankruptcy Petition Preparer
      Printed Name of Authorized Individual

                                                                                                 Date
      Title of Authorized Individual
                                                                                              A bankruptcy petition preparer's failure to comply with the provisions of title 11
       11/15/2004                                                                             and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                              imprisonment or both (11 U.S.C. § 110; 18 U.S.C. § 156).
   Date
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                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                               WACO DIVISION
  IN RE:   Anquenetta Shontrell Dunner                                             CASE NO

                                                                                   CHAPTER       13

                                     VERIFICATION OF CREDITOR MATRIX


     The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.



Date 11/15/2004                                          Signature    /s/ Anquenetta Shontrell Dunner
                                                                     Anquenetta Shontrell Dunner



Date                                                     Signature
